Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 1 of 12 Page|D 1

'l r l `.‘

i i._L'_:J l

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

.-~~.¢3 c" ’> "`

 

TAMPA DlVISlON ;.’-j. \. .\ .- h <-'»

DANA PRESCOTT

Plaintiff, CASE NO.:
V. /{¢_

g \ to w a se 2.<¢ -g-e`o

GALENCARE, lNC. d/b/a BRANDON
REGIONAL HOSPITAL, and MEDICREDIT, INC.

Defendants.

/
COMPLAINT

Plaintifi`, Dana Prescott, by and through the undersigned counsel, sues Galencare, Inc.,
d/b/a Brandon Regional Hospital and Medicredit, Inc., and states as follows:

PRELIMINARY STATEMENT

 

l. PlaintiH` brings this action pursuant to 15 U.S.C. § 1692 et seq., the `air Debt
Collection Practices Act (“FDCPA”); Fla. Stat. § 559.55 el seq., the Florida lonsumer
Collection Practices Act (“FCCPA”); and 47 U.S.C. § 227 et seq., the Telephone Qionsumer
Protection Act (“TCPA”). ;

JURISDICTION AND VENUE

2. Federal subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, as Plaintiff

brings, among other claims, claims under the federal FDCPA, 15 U.S.C. § 1692 et seq. and the

TCPA, 47 U.S.C. § 227 er seq. Supplemental jurisdiction exists over the state law claims

pursuant to 28 U.S.C. § 1367.

 

3. Vcnue is proper in this district pursuant to 28 U.S.C. § l39l(a) ecause a

substantial part of the events or omissions giving rise to the claims and injuries occu ed in the

Middle District of Florida.

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 2 of 12 Page|D 2

4. Venue is proper in this district because the Plaintiff suffered the i
Hillsborough County, Florida,
PARTIES
5. Plaintiff Dana Prescott (“Ms. Prescott” or "Plaintii`f') is a natural per
resides in I'lillsborough County, Florida. Plaintiff is a “consumer,” as that term is defm
U.S.C. § 1692a(3), and Fla. Stat. § 559.55(8). Plaintiff is also a “pcrson” under Flz
559.72 and 47 U.S.C. § 227.
6. Defendant, Galencare, lnc. d/b/a Brandon Regional Hospita| (‘
Regional”) is a Florida corporation, does business in the State of Florida, is a “and is a

under Fla. Stat. § 559.72.

ijury in

son who
bd by 15

. Stat. §

Brandon

“person”

7. Defendant, Medicredit, Inc (“Medicredit”) is a Missouri corporation, does

business in the State of Florida, is a “debt collector,” as that term is defined by 15
16923(6) and Fla. Stat. § 559.55(7); and a “person” under Fla. Stat. § 559.72 and 47

227.

u.s.c §

U.s.C. §

8. Defendant, in the conduct of their businesses, used one or more instrurr entalities

of interstate commerce or the mails, including, without limitation, electronic commun

communicate with Plaintiff".

cation to

9. The conduct of Defendant was authorized, approved and/or ratified by one or

more officers, directors, or managers of Defendant, and/or they knew in advance

that the

Defendant was likely to conduct themselves and allowed them to so act with conscious disregard

of the rights and safety of others. Thc agent(s) or employce(s) of Defendant acted within the

course and scope of such agency or employment and acted with the consent, permiFsion and

authorization of Defendants.

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 3 of 12 Page|D 3

FACTUAL ALLEGATIONS

10. Ms. Prescott utilized medical services from Brandon Regional, which generated

fees associated with those services (the “Debt”).

11. Ms. Prescott began receiving phone calls to her personal cell phone from

Regional and Medicredit in approximately November 2015, in attempt to collect the Deb t.

12. The Debt is a personal debt related to Ms. Prescott's medical treatment; t
the Debt is a “debt” as defined by 15 U.S.C § 1692a(5).
13. Ms. Prescott informed both Brandon Regional and Medicredit representa
she would not make any payments on the Debt. She also instructed representatives at
Regional and Medicredit to stop calling her cell phone.
14. Nevertheless, Brandon Regional and Medicredit continued to repeatedly
Prescott's cell phone in effort to collect the Debt.
15. Medicredit continued to repeatedly call Ms. Prescott's cell phone apprc

one (1) time a day, two (2) to three (3) times a week.

Brandon

herefore,

tives that

Brandon

call Ms.

ximately

16. All calls made by Brandon Regional and Medicredit were made by an ziutomated

telephone dialing system and were made to Ms. Precott's cell phone without her cons
was evidenced when Ms. Prescott would answer and hear either an automated voice
would be a click, beep, or delay before an operator was connected to Ms. Prescott.

17. As detailed below, Defendants' conduct constitutes a violation of the

FDCPA, and the TCPA.

:nt. This

or there

FCCPA,

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 4 of 12 Page|D 4

M

VIOLATION OF THE FCCPA BY DEFENDANT BRANDON REGIONAL

18. This is an action against Defendant, Brandon Regional, for violation of l" 1a. Stat.

§ 559.55 et seq.

19. P|aintiff re-alleges and incorporates paragraphs 1 through 16, as fully set forth

herein.

20. Brandon Regional communicated, directly and/or indirectly, certain infprmation

to Plaintiff as set forth above, which constitutes “communication,” as defined by Fla. Stat. §
559.55(5).

21. Fla. Stat. § 559.72 provides, in pertinent part:

In collecting consumer debts, no person shall:

(7) Willfully communicate with the debtor or any member of her or

his family with such frequency as can reasonably be expected to hara ;s

the debtor or her or his family, or willfully engage in other conduct which

can reasonably be expected to abuse or harass the debtor or any member
of her or his family.

(9) Claim, attempt, or threaten to enforce a debt when such pers an

knows that the debt is not legitimate, or assert the existence of some other

legal right when such person knows that the right does not exist.

22. Through its conduct, described above, Brandon Regional directly and tl rough its

agents violated the above sections of the FCCPA.
23. All conditions precedent to this action have occurred, have been satisfied or have

been waived.

24. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the

FCCPA, Brandon Regional is liable to Plaintiff for actual damages, statutory damages, and

reasonable attorney’s fees and costs.

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 5 of 12 Page|D 5

25. Based upon the willful, intentional, knowing, malicious, repetitive and c
conduct of Brandon Regional as described herein, Plaintiff` is also entitled to an

punitive damages in accordance with Fla. Stat. §§ 559.77 and 768.72.

Dntinuous

award of

26. Each communication, made in violation of the FCCPA is a separate jmlsticiable

issue entitled to adjudication on its individual merits and is eligible for an award of
Pursuant to Federal Rule of Civil Procedure 10(b), each violation has been consolida

single count to promote clarity.

damages,

ted into a

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against

Brandon Regional, finding that Brandon Regional violated the FCCPA, awarding Plaintiff actual

damages, statutory damages, punitive damages, attomeys’ fees and costs pursuant to F
559.77(2), and awarding Plaintiff any and all such further relief as is deemed nece
appropriate
COUNT II
VIOLATION OF THE FCCPA BY DEFENDANT MEDICREDIT

27. This is an action against Defendant, Medicredit, for violation of Fl
559.55 el seq.

28. Plaintiff re-alleges and incorporates paragraphs 1 through 16, as fully
herein,

29. Medicredit communicated, directly and/or indirectly, certain inforr
Plaintiff as set forth above, which constitutes “communication,” as defined by Fl

559.55(5).

la. Stat. §

ssary and

a. Stat. §

set forth

nation to

a. Stat. §

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 6 of 12 Page|D 6

30. Fla. Stat. § 559.72 provides, in pertinent part:

In collecting consumer debts, no person shall:

(7) Willfully communicate with the debtor or any member of her Jr
his family with such frequency as can reasonably be expected to harass

the debtor or her or his family, or willfully engage in other conduct whi<

can reasonably be expected to abuse or harass the debtor or any memb:r

of her or his family.

h

31. Through its conduct, described above, Medicredit directly and through its agents

violated the above sections of the FCCPA.

'\

been waived.

33. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violatior

.)2. All conditions precedent to this action have occurred, have been satisfied or have

s of the

FCCPA, Medicredit is liable to Plaintiff` for actual damages, statutory damages, and reasonable

attorney"s fees and costs.

34. Based upon the willful, intentional, knowing, malicious, repetitive and continuous

conduct of Medicredit as described herein, Plaintiff is also entitled to an award of
damages in accordance with Fla. Stat. §§ 559.77 and 768.72.

35. Each communication, made in violation of the FCCPA is a separate ju
issue entitled to adjudication on its individual merits and is eligible for an award of d
Pursuant to Federal Rule of Civil Procedure 10(b), each violation has been consolidate
single count to promote clarity.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

punitive

sticiablc

amages.

cl into a

against

Medicredit, finding that Medicredit violated the FCCPA, awarding Plaintiff actual damages,

statutory damages, punitive damages, attomeys’ fees and costs pursuant to Fla. Stat. § 55

and awarding Plaintiff any and all such further relief as is deemed necessary and appropr

9.77(2),

al€ .

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 7 of 12 Page|D 7

COUNT lll
VIOLATION OF THE FDCPA BY DEFENDANT MEDICREDlT
36. This is an action against Medicredit for violation of 15 U.S.C. § 1692 el .ieq.
37. Plaintiff re-alleges and incorporates paragraphs 1 through 16, as fully set forth
herein.
38. Through the conduct described above, Medicredit violated the following
provisions of the FDCPA:

15 U.S.C. § 1692d

A debt collector may not engage in any conduct the natural consequence c f
which is to harass, oppress, or abuse any person in connection with the
collection of a debt;

15 U.S.C. § 1692e

A debt collector may not use any false, deceptive, or misleading represent%tion or
means in connection with the collection of any debt.

15 U.S.C. § 1692f

A debt collector may not use unfair or unconscionable means to collect or attempt
to collect any debt.

39. As a result of Medicredit's violation of the FDCPA, Plaintiff is entitlee to: (a)
actual damages pursuant to 15 U.S.C. § l692k(a)(1); (b) statutory damages, pursuant to 15
U.S.C. § l692k(a)(2)(A); (c) reasonable attomeys’ fees and costs, pursuant to 15 U.S.C. §
1692k(a)(3); and (d) all other relief Plaintiff is entitled to under the law.
40. All conditions precedent to this action have occurred, have been satisfied or have

been waived.

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 8 of 12 Page|D 8

WI~IEREFORE, Plaintiff respectfully requests this Court enter a judgment in Plaintifi‘s
favor finding that Medicredit has violated the FDCPA; awarding Plaintiff actual damages,
statutory damages, attomeys’ fees and costs, together with any and all such further relief as is
deemed necessary or appropriate

COUNT IV
VIOLATION OF THE TCPA BY BRANDON REGIONAL

41. This is an action against Brandon Regional for violations of the TCPA, 47 U.S.C.
§ 227 et seq.

42. Plaintifi` re-alleges and reincorporates paragraphs 1 through 16, as if fully set forth
here-in.

43. Brandon Regional, in the conduct of its business, used an automatic telephone
dialing system defined by 47 U.S.C. § 227(a)(l)(A) to communicate with Plaintiff.

44. Section 47 U.S.C. § 227(b)(1)(A)(iii) provides in pertinent part:

lt shall be unlawful for any person within the United States --

(A) to make any ca11 (other than a call made for emergency purposes 01

made with the prior express consent of the called party) using any

automatic telephone system or an artificial or prerecorded voice --

(iii) to any telephone number assigned to a paging service, cellular

telephone service, specialized mobile radio service, or other radio

common carrier service, or any service for which the called party is

charged for the call;

45. Brandon Regional violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing :alls to
Plaintiff‘s cell phone without Plaintiff‘s express consent using an automatic telephone dialing

System.

46. Brandon Regional willfully, knowingly, and intentionally made multiple calls to

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 9 of 12 Page|D 9

l’laintift"s cell phone phone utilizing an automatic telephone dialing system after Plaintiff told

Defendant that Defendant did not have permission to call Plaintiff‘s cell phone

47. All conditions precedent to this action have occurred, have been satisfied or have

been waived.

48. As a result of the above violation of` the TCPA, Brandon Regional is liable to

Plaintiff for actual damages, or the amount of $500.00 as damages for each violation, whichever

is greater, pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

49. Based upon the willful, knowingly, and intentional conduct of Brandon Regional

as described above, Plaintiff is also entitled to an increase in the amount of the award to treble

the damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §

227(b)(3).

WHEREFORE, Plaintiff respectfully request this Court enter a judgment against the

Brandon Regional: (1) finding Brandon Regional violated the TCPA; (2) awarding Plaintiff

actual damages or the amount of $500.00 in damages for each violation, whichever is greater;

(3) finding Brandon Regional willfully, knowingly and intentionally violated the TCPA and

increasing the damages award to treble the amount of damages otherwise to be entered as a

judgment; and (4) awarding Plaintiff any and all such further relief as is deemed necessary and

appropriate
COUNT V
VIOLATION OF THE TCPA BY MEDICREDIT
50. This is an action against Medicredit for violations of` the TCPA, 47 U.S.C

el seq.

.§227

 

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 10 of 12 Page|D 10

1

51. Plaintiff re-alleges and reincorporates paragraphs l through 16, as if fully set forth

here-in.
52. Medicredit, in the conduct of its business, used an automatic telephorre

system defined by 47 U.S.C. § 227(a)(1 )(A) to communicate with Plaintiff
53. Section 47 U.S.C. § 227(b)(1)(A)(iii) provides in pertinent part:

It shall be unlawful for any person within the United States --

 

(A) to make any ca11 (other than a call made for emergency purposes
made With the prior express consent of the called party) using an
automatic telephone system or an artificial or prerecorded voice --

(iii) to any telephone number assigned to a paging service, cellula
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call;

dialing

54. Medicredit violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing calls to Plaintiff‘s

cell phone without Plaintiffs express consent using an automatic telephone dialing system.

55. Medicredit willfully, knowingly, and intentionally made multiple calls to

Plaintiff‘s cell phone phone utilizing an automatic telephone dialing system after Plaintiff told

Defendant that Defendant did not have permission to ca11 Plaintiff‘s cell phone

56. A11 conditions precedent to this action have occurred, have been satisfied or have

been wai\'ed.

57. As a result of the above violation of the TCPA, Medicredit is liable to Plai itin for

actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,

pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

58. Based upon the willful, knowingly, and intentional conduct of MedicTedit as

described above, Plaintiff is also entitled to an increase in the amount of the award to trc

10

ble the

 

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 11 of 12 Page|D 11

damages amount available under 47 U.S.C. § 227(b)(3)(B). in accordance with 47 U.S.C. §
227(b)(3).

WHI`§REFORIE, Plaintiff respectfully request this Court enter a judgment against the
Medicredit (_1) linding Medicredit violated the 'l`CI’A; (2) awarding Plaintiff actual damages or
the amount of SSUU.OU in damages for each violation, whichever is greater; (3); finding
Medicredit willfully, knowingly and intentionally violated the TCPA and increasing the damages
award to treble the amount of damages otherwise to be entered as a judgment; and (4) a\\-'arding
Plaintiff any and all such further relief as is deemed necessary and appropriate

DEMANI) F()R J`U RY 'I`RlAL

Plaintiff is entitled to and hereby respeetfully demands a trial by jury. U.Sl Const.
Amend. 7 and lied. R. Ci\'. P. 38.

I)ated: Aprilz‘¥§ 2016 Respectt`ully Submitted,
CENTRONE & SHRAI)ER, PLLC

612 W. Bay St.
Talnpa, 1`~` loricla 33606

 

 

lAN L. §HRADER, ESQ.
Florida liar No. 57251
e-mail: bshrader(§r].centroneshrader.eom
GUS M. CENTRONE, ESQ.
Florida Bar No. 30151
e-mail: gcentrone@eentroneshradercoin
Attorneys for Plaintiff

11

Case 8:16-cv-00956-RAL-TGW Document 1 Filed 04/20/16 Page 12 of 12 Page|D 12

VERIFICATI()N OF COMI’LAINT AND CERTIFICA'I`ION
BY PLAINTIFF. DANA PRESCOTT

I_. Dana Prescott, pursuant to 28 U.S.C. §1746, under penalties oi`perjury, state as follows:

1.

2.

ua

1 am a Plaintiff in this civil proceeding

1 have read the above entitled civil C.ornplaint prepared by my attorneys and 1 believe
that all ol`the facts contained in it are true. to the best of my knowledge information and
belief formed after reasonable inquiry.

1 believe that this civil Complaint is well grounded in fact and warranted by existing law
or by a good faith argument for the extension, modification, or reversal of existing law.

1 believe that this civil Complaint is not interposed for any improper purpose such as to
harass any Defendant(s}, cause unnecessary delay to any Defendant(s), or create a
needless increase in the cost of litigation to any Defendant(s`), named in the Cornpl_aint.

l have filed this civil Complaint m good faith and solely for the purposes set forth tn it.

 

 

game ?WZM/’ Lll itt/3 1110

Dana Prescott Date

